      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 1 of 26


     Matthew C. Helland, CA State Bar No. 250451
 1
     helland@nka.com
 2   Daniel S. Brome, CA State Bar No. 278915
     dbrome@nka.com
 3   NICHOLS KASTER, LLP
     235 Montgomery St., Suite 810
 4   San Francisco, CA 94104
 5   Telephone: (415) 277-7235
     Facsimile: (415) 277-7238
 6
     Rachhana T. Srey, MN State Bar No. 340133*
 7   srey@nka.com
     NICHOLS KASTER, PLLP
 8   4700 IDS Center
 9   80 South 8th Street
     Minneapolis, MN 55402
10   Telephone: (612) 256-3200
     Facsimile: (612) 338-4878
11   *Admitted pro hac vice
12   Benjamin L. Davis, MD Bar No. 29774*
13   bdavis@nicholllaw.com
     The Law Offices of Peter T. Nicholl
14   36 Charles Street, Suite 1700
     Baltimore, MD 21201
15   *Pro hac vice application forthcoming
16
     Attorneys for Plaintiff and those similarly situated
17

18                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
19
     Aaron Kudatsky, individually and on behalf of          Case No. 3:19-CV-07647-WHA
20
     all others similarly situated,
21                                                          PLAINTIFFS’ NOTICE OF MOTION
                                    Plaintiff,              AND MOTION FOR ATTORNEYS’ FEES
22                                                          AND COSTS
            v.
23                                                          Date: November 4, 2021, 8:00 a.m.
     Tyler Technologies,                                    Courtroom: 12 – 19th Floor
24
                                    Defendant.
25                                                          Judge: Hon. William Alsup

26

27

28



     MOTION FOR ATTORNEYS’ FEES AND COSTS                                     Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 2 of 26



 1                                                          TABLE OF CONTENTS
 2   NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES AND COSTS, AND
 3     SERVICE PAYMENTS .............................................................................................................. v
 4   MEMORANDUM OF POINTS AND AUTHORITIES ................................................................. 1
 5     I.         INTRODUCTION ............................................................................................................... 1
 6     II.        RELEVANT PROCEDURAL HISTORY........................................................................... 2
 7     III.             THE COURT SHOULD APPROVE THE REQUESTED ATTORNEYS’ FEES AND
 8     COSTS ......................................................................................................................................... 3
 9           A.         The Court should award attorneys’ fees from the common fund..................................... 4
10           B.         The Court should approve the request of 25% in attorneys’ fees .................................... 6
11                i.       Result obtained ............................................................................................................ 7
12                ii.      Quality of counsel ..................................................................................................... 10
13                iii.     Complexity of the issues ........................................................................................... 10
14                iv.      Risk of Nonpayment ................................................................................................. 11
15                v.       Reaction of the Class ................................................................................................. 12
16                vi.      Lodestar Cross-Check ............................................................................................... 12
17           C.         The Court should approve the request of $20,000 in litigation costs............................. 16
18     IV.              THE COURT SHOULD APPROVE THE REQUESTED SERVICE PAYMENTS.... 17
19     V.         CONCLUSION .................................................................................................................. 19
20

21

22

23

24

25

26

27

28
                                                                            -ii-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 3 of 26



 1                                                 TABLE OF AUTHORITIES
 2   Cases
 3   Aguilar v. Wawona Frozen Foods, 2017 WL 2214936, (E.D. Cal. May 19, 2017) ...... 8, 11, 12, 15
 4   Alvarez v. Farmers Ins. Exch., 2017 WL 2214585 (N.D. Cal. Jan. 18, 2017)............................. 7, 9
 5   Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431 (E.D. Cal. 2013) ......................... passim
 6   Batiz v. American Commercial Sec. Services, 2010 WL 11556683 (C.D. Cal. May 11, 2010) .... 19
 7   Bautista v. Harvest Management Sub LLC, 2014 WL 12579822 (C.D. Cal. Jul. 14, 2014) ..... 9, 11
 8   Behrens v. Wometco Enters., Inc., 118 F.R.D. 534 (S.D. Fla. 1988) ............................................. 15
 9   Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245 (N.D. Cal. 2015)................................... 7, 16
10   Bisaccia v. Revel Sys. Inc., 2019 WL 3220275 (N.D. Cal. July 17, 2019) .................................... 14
11   Blum v. Stenson, 465 U.S. 886 (1984) ............................................................................................. 4
12   Boeing Co. v. Van Gemert, 444 U.S. 472 (1980) ............................................................................. 4
13   Bower v. Cycle Gear, Inc., 2016 WL 4439875 (N.D. Cal. Aug. 23, 2016) ............................... 7, 16
14   Boyd v. Bank of America, 2014 WL 6473804 (C.D. Cal. Nov. 18, 2014) ..................................... 18
15   Burden v. SelectQuote Ins. Services, 2013 WL 3988771 (N.D. Cal. Aug. 2, 2013)........................ 6
16   Carter v. XPO Logistics, Inc., 2019 WL 5295125 (N.D. Cal. Oct. 18, 2019) ............................... 18
17   Ching v. Siemens Industry, Inc., 2014 WL 2926210 (N.D. Cal. June 27, 2014) ......................... 7, 9
18   Craft v. Cty. of San Bernardino, 624 F. Supp. 2d 1113 (C.D. Cal. 2008) ..................................... 15
19   Deluca v. Farmers Ins. Exch., 2020 WL 5071700 (N.D. Cal. Aug. 24, 2020).......................... 8, 19
20   Di Giacomo v. Plains All Am. Pipeline, 2001 WL 34633373 (S.D. Fla. Dec. 19, 2001) .............. 15
21   Dixon v. Cushman & Wakefield Western, Inc., 2021 WL 3861465 (N.D. Cal. Aug. 30, 2021)...... 8
22   Franco v. E-3 Sys., 2021 WL 2333851 (N.D. Cal. June 8, 2021) ................................................. 17
23   Franco v. Ruiz Food Products, Inc., 2012 WL 5941801 (E.D. Cal. Nov. 27, 2012) .................... 13
24   Fronda v. Staffmark Holdings, Inc., 2018 WL 2463101 (N.D. Cal. June 1, 2018) ......................... 6
25   Galeener v. Source Refrigeration & HVAC, Inc., 2015 WL 12977077
26      (N.D. Cal. Aug. 21, 2015) .......................................................................................................... 18
27   Gee v. Suntrust Mortg., Inc., 2011 WL 5597124 (C.D. Cal. Nov. 15, 2011) ................................ 19
28
                                                                      -iii-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 4 of 26



 1   Graham v. Daimler Chrysler Corp., 34 Cal. 4th 553 (2004) ......................................................... 11
 2   Hefler v. Wells Fargo & Co., 2018 WL 6619983 (N.D. Cal. Dec. 18, 2018) ............................... 14
 3   Hightower v. JPMorgan Chase Bank, N.A., 2015 WL 9664959 (C.D. Cal. Aug. 4, 2015) .... 13, 19
 4   Hoffmann-Laroche Inc. v. Sperling, 493 U.S. 165 (1989) ............................................................. 19
 5   In re Pep Boys Overtime Actions, 2008 WL 11343369 (C.D. Cal. Nov. 12, 2008) ...................... 18
 6   In re Rite Aid Corp. Sec. Litig., 396 F.3d 294 (3d Cir. 2005) ........................................................ 12
 7   In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig., No. 2672 CRB
 8      (JSC), 2017 WL 1047834 (N.D. Cal. Mar. 17, 2017) ................................................................ 14
 9   In re Walgreen Co. Wage & Hour Litigation, 2014 WL 12853547 (C.D. Cal. Oct. 3, 2014) ....... 13
10   Kakani v. Oracle Corp., No. 06-CV-06493-WHA, 2007 WL 1793774
11      (N.D. Cal. June 19, 2007) ............................................................................................................ 9
12   Knight v. Red Door Salons, Inc., 2009 WL 248367 (N.D. Cal. Feb. 2, 2009) ................................ 6
13   Laffitte v. Robert Half Int’l Inc., 1 Cal. 5th 480 (2016) ............................................................. 4, 12
14   Lazarin v. Pro Unlimited, Inc., 2013 WL 3541217 (N.D. Cal. July 11, 2013).............................. 16
15   Lealao v. Beneficial California, Inc., 82 Cal. App. 4th 19 (2000)................................................. 12
16   Lusby v. GameStop, Inc., 2015 WL 1501095 (N.D. Cal. Mar. 31, 2015) ........................................ 6
17   Monplaisir v. Integrated Tech Grp., LLC, No. 19-CV-01484 WHA, 2020 WL 8642155
18      (N.D. Cal. Nov. 7, 2020) .............................................................................................................. 9
19   Nelson v. Avon Prod., Inc., 2017 WL 733145 (N.D. Cal. Feb. 24, 2017) .............................. passim
20   Noroma v. Home Point Financial Corp., 2019 WL 5788658 (N.D. Cal. Nov. 6, 2019) ............... 18
21   Pointer v. Bank of Am., N.A., 2016 WL 7404759 (E.D. Cal. Dec. 21, 2016) ............................ 9, 11
22   Powers v. Eichen, 229 F.3d 1249 (9th Cir. 2000) ............................................................................ 6
23   Rabin v. PricewaterhouseCoopers LLP, 2021 WL 837626 (N.D. Cal. Feb. 4, 2021)................... 19
24   Roberts v. Texaco, 979 F.Supp. 185 (S.D.N.Y.1997).................................................................... 15
25   Rodriguez v. West Publishing Corp., 563 F.3d 948 (9th Cir. 2009) .............................................. 17
26   Roe v. Jose Torres L.D. Latin Club Bar, Inc., 2020 WL 5074392 (N.D. Cal. Aug. 27, 2020) ....... 8
27   Ross v. Bar None Enterprises, Inc., 2015 WL 1046117 (E.D. Cal. Mar. 10, 2015) ...................... 10
28
                                                                       -iv-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 5 of 26



 1   Staton v. Boeing Co., 327 F.3d 938 (9th Cir. 2003)..................................................................... 4, 6
 2   Stonehocker v. Kindred Healthcare Operating LLC, 2021 WL 1643226
 3      (N.D. Cal. Apr. 27, 2021) .................................................................................................... 12, 15
 4   Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261 (D.C. Cir. 1993) .................................................. 5, 6
 5   Taylor v. FedEx Freight, Inc., 2016 WL 6038949 (E.D. Cal. Oct. 13, 2016) ......................... 16, 18
 6   Torchia v. W.W. Grainger, Inc., 2014 WL 7399230 (E.D. Cal. 2014) .......................................... 12
 7   Van Vranken v. Atlantic Richfield Co., 901 F. Supp. 294 (N.D. Cal. 1995) ............................ 15, 16
 8   Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482 (E.D. Cal. 2010) ....................................... 4
 9   Vizcaino v. Microsoft Corp., 290 F.3d 1043 (9th Cir. 2002) ....................................................... 4, 5
10   Weiss v. Mercedez–Benz, 899 F.Supp. 1297 (D.N.J.1995) aff’d, 66 F.3d 314 (3d Cir.1995) ....... 15
11   Wilcox v. city of Reno, 42 F.3d 550 (9th Cir. 1994)......................................................................... 7
12   Willner v. Manpower Inc., 2015 WL 3863625 (N.D. Cal. June 22, 2015) ...................................... 6
13   Treatises
14   4 Newberg on Class Actions .................................................................................................... 13, 15
15   Eisenberg & Miller, Incentive Awards to Class Action Plaintiffs: An Empirical Study, 53 UCLA
16      L.Rev. 1303 (2006) .................................................................................................................... 15
17

18

19

20

21

22

23

24

25

26

27

28
                                                                        -v-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 6 of 26



 1     NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES AND COSTS, AND
 2                                         SERVICE PAYMENTS
 3          PLEASE TAKE NOTICE that on November 4, 2021 at 8:00 a.m., or as soon thereafter as
 4   the matter may be heard, in Courtroom B, 15th Floor, of the above-captioned Court, Plaintiffs
 5   will and hereby do move this Court for an order approving Plaintiffs’ attorneys’ fees and costs.
 6          Plaintiffs request that the Court approve fees of 25% ($787,500.00) of the total settlement
 7   amount ($3,150,000), as well as costs of $20,000.00. Plaintiffs also request a service payment of
 8   $5,000.00 to the named plaintiff, and a payment of $500 to each of the seven (7) Opt-in Plaintiffs
 9   who sat for a deposition.
10          This motion is based upon the notice of motion and motion, the accompanying
11   memorandum of points and authorities, all accompanying declarations and exhibits, and the
12   papers, records, and pleadings on file in this action.
13

14   Dated: September 14, 2021              NICHOLS KASTER, LLP
15                                          By: s/ Daniel S. Brome
16                                          Daniel S. Brome
                                            Attorneys for Plaintiff and those similarly situated
17

18

19

20

21

22

23

24

25

26

27

28
                                                     -vi-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
       Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 7 of 26



 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2           I.      INTRODUCTION

 3          This class and collective settlement provides a very substantial benefit to a group of

 4   approximately 295 individuals—after deductions, the settlement will distribute over $7,800.00 on

 5   average. The settlement compares favorably with the value of the claims: the gross settlement

 6   amount represents 41% of the maximum value of the claims, and exceeds the realistic value as

 7   calculated by Plaintiffs’ Counsel; the net settlement amount (assuming deductions for attorneys’

 8   fees and costs and enhancement awards) represents 30.5% of the maximum value, or 80% of the

 9   realistic value of the claims. The Court granted preliminary settlement approval, finding that the

10   agreement appeared to be fair, reasonable and adequate. (ECF No. 130.) Plaintiffs now submit this

11   motion for attorneys’ fees and costs and service awards, to be heard in conjunction with Plaintiffs’

12   motion for final settlement approval. Because of the results obtained and the complexity of the

13   case, Plaintiffs respectfully requests that the Court approve attorneys’ fees at the Ninth Circuit

14   benchmark rate of 25% ($787,500.00), plus costs of $20,000.00.

15          The Court granted preliminary settlement approval in this case on July 26, 2021. (ECF No.
16   130.) Since then, Plaintiffs’ Counsel distributed the court-approved notices of settlement to all
17   Fair Labor Standards Act (“FLSA”) Opt-in Plaintiffs and Rule 23 Class Members. Objections
18   from Rule 23 Class Members, and responses from FLSA Opt-in Plaintiffs, are due by September
19   23, 2021. As of this filing, all but two FLSA Opt-in Plaintiffs have affirmatively signed their
20   release forms to participate in the settlement, no Rule 23 Class Members have filed objections,
21   and only two Rule 23 Class Members have requested exclusion. The final approval hearing is set
22   for November 4, 2021. In connection with final approval, Plaintiffs respectfully request the Court
23   approve payment of attorneys’ fees and costs, and service awards.
24          The settlement calls for Defendant, Tyler Technologies, Inc. (“Tyler”) to pay a total of

25   $3,150,000.00; Plaintiffs request that the Court award reasonable fees from the common fund at

26   25% ($787,500.00). Fees at the percentage are warranted based on the results obtained, the

27   complexity of the issues and skill of counsel, the risk of nonpayment, and a lodestar crosscheck.

28   The requested fees are lower than the percentage included in Plaintiffs’ retainer agreements.
                                                 -1-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
       Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 8 of 26



 1   Further, the requested costs are reasonable and were incurred diligently litigating this case to

 2   benefit the group.

 3          The Court should also approve the requested service awards. The Named Plaintiff, Aaron

 4   Kudatsky, spent significant time on this case, and was actively involved in all phases of litigation,

 5   from assisting with the initial drafting of the complaint, participating throughout discovery, and

 6   attending two settlement conferences. Moreover, Mr. Kudatsky’s willingness to bring this class

 7   and collective action provided a very substantial benefit to the group; but for his willingness to

 8   come forward and bring this case, there would not have been any class-wide recovery. The Mr.

 9   Kudatsky accepted a substantial risk of reputational harm, as described in his accompanying

10   declaration. Further, the $500.00 service award for the seven deponents is reasonable. That

11   deposition testimony was necessary for the successful class certification motion, for the parties’

12   summary judgment motions filed (but not argued or decided) at the time of settlement, and for

13   preparing for and negotiating the settlement. Therefore, each FLSA Opt-in Plaintiff and Rule 23

14   class member benefited from the time and effort of these individuals―some of whom are current

15   employees―preparing for and testifying in their depositions. The requested awards are

16   appropriate considering their contributions.

17           II.     RELEVANT PROCEDURAL HISTORY

18          As described in the preliminary approval motion, this case was filed roughly two years

19   ago, and has been heavily litigated since, with contested motions and substantial discovery. (ECF

20   No. 123 at 1–4.) Plaintiff Aaron Kudatsky filed this lawsuit on November 20, 2019 seeking

21   unpaid overtime, alleging that Tyler misclassified implementation consultants (“ICs”) as overtime

22   exempt in violation of the FLSA and California law. (ECF No. 1, Compl.) Defendant denies that

23   it misclassified Plaintiffs and other ICs as exempt, and denies that that it owes these employees

24   unpaid overtime compensation or penalties. (ECF No. 17, Answer at ¶¶ 39–46.)

25          The Parties stipulated to conditional certification under the FLSA on May 13, 2020, and

26   notice was distributed accordingly. (ECF No. 39.) On November 16, 2020, Plaintiff filed a motion

27   for class certification (ECF No. 78), which the Court granted in large part on February 25, 2021.

28   (ECF No. 98.)
                                                      -2-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
       Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 9 of 26



 1          The parties participated in a settlement conference with Judge Ryu on March 23, 2021,

 2   which did not result in a settlement. (ECF No. 103.) The parties returned to Judge Ryu on April

 3   19, 2021 for continued negotiations. (ECF No. 106.) At the conclusion of the second settlement

 4   conference, Judge Ryu made a mediator’s proposal (see ECF No. 113), which the Parties accepted

 5   the next day. (ECF No. 118.)

 6          During the time between the settlement conference and the Parties’ acceptance of the

 7   mediator’s proposal, the Parties filed cross-motions for summary judgment (ECF Nos. 115, 116)

 8   and Defendant filed a motion for decertification (ECF No. 117.) Those motions were set to be

 9   heard on May 26, 2021, in conjunction with the pre-trial conference. The case was set for a bench

10   trial beginning on June 1, 2021, on the misclassification issue.

11          Once the mediator’s proposal was accepted, the Parties withdrew their dispositive motions

12   (ECF Nos. 121, 122), and requested that the Court stay the trial and pretrial dates (ECF No. 120).

13   The Court granted the Parties’ request on April 27, 2021. (ECF No. 122.) The Parties negotiated

14   and executed a Memorandum of Understanding, and a long-form settlement agreement that is the

15   subject of this motion. The preliminary approval motion was filed on May 7, 2021. (ECF No.

16   123.) Following the preliminary approval hearing, the Parties agreed to minor modifications to the

17   settlement agreement and the notice forms. (ECF No. 128.) The Court granted preliminary

18   approval on July 26, 2021. (ECF No. 130.) The settlement covers 295 individuals: 34 with FLSA

19   claims only, 234 with California claims only, and 27 with hybrid FLSA and California claims.

20   (ECF No. 128–5.)

21          Plaintiffs’ Counsel distributed the notices by first class mail and email (when available).

22   (Brome Decl. ¶ 13.) Importantly, all of the Notices explicitly informed FLSA Opt-in Plaintiffs and

23   Rule 23 class members about the amount of attorneys’ fees and costs, and service payments

24   requested. The deadline for Rule 23 Class Members to file objections is September 23, 2021; none

25   have been received as of the filing of this motion. (Id.) All of the FLSA Opt-ins have returned their

26   release forms. (Id.) Plaintiffs will update the Court on the response in conjunction with their

27   Motion for Final Settlement Approval, which will be filed after the notice period is closed.

28             III. THE COURT SHOULD APPROVE THE REQUESTED ATTORNEYS’
                                       -3-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 10 of 26



 1                    FEES AND COSTS

 2                   A.      The Court should award attorneys’ fees from the common fund

 3           For well over a century, federal and state courts have recognized that when counsel’s

 4   efforts result in the creation of a common fund that benefits plaintiffs and unnamed class members,

 5   counsel have an equitable right to be compensated from that fund as a whole for their successful

 6   efforts in creating it. See Laffitte v. Robert Half Int’l Inc., 1 Cal. 5th 480, 503 (2016); Boeing Co.

 7   v. Van Gemert, 444 U.S. 472, 478 (1980) (Supreme Court “has recognized consistently that a

 8   litigant or a lawyer who recovers a common fund . . . is entitled to a reasonable attorney’s fee from

 9   the fund as a whole”); Staton v. Boeing Co., 327 F.3d 938, 967 (9th Cir. 2003) (recognizing

10   common fund doctrine).

11          In group litigation, many class members benefit from the ultimate settlement, but they may

12   not have played a large role in the litigation that led to the payment. Boeing, 444 U.S. at 478. The

13   common fund approach “thus spread[s] fees proportionately among those benefited by the suit.”

14   Id. Awarding a percentage of the total fund is routinely approved as a fair way to calculate a

15   reasonable fee when contingency fee litigation has produced a common fund. See, e.g., Vizcaino v.

16   Microsoft Corp., 290 F.3d 1043, 1050 (9th Cir. 2002) (“We conclude that the district court

17   considered the relevant circumstances and did not abuse its discretion in finding a 28% fee award

18   to be reasonable under the percentage method.”); Paul, Johnson, Alston & Hunt, 886 F.2d at 272;

19   Blum v. Stenson, 465 U.S. 886, 900, n.16 (1984).

20          Fees from a common fund are particularly appropriate where, as here, “each member of a

21   certified class has an undisputed and mathematically ascertainable claim to part of a lump-sum

22   judgment recovered on his behalf.” Staton, 327 F.3d at 972 (quoting Boeing, 444 U.S. at 479);

23   accord Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D. 431, 448 (E.D. Cal. 2013) (“Here, the

24   Settlement Agreement applies a formula pursuant to which each Class Member will receive a

25   mathematically ascertainable payment; application of the percentage of the common fund doctrine

26   is appropriate.”); Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482, 491 (E.D. Cal. 2010)

27   (where settlement agreement “applies distribution formulas pursuant to which each Class Member

28   who submits a valid claim will receive a mathematically ascertainable payment, application of the
                                                   -4-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 11 of 26



 1   percentage of common fund doctrine appropriate”). Here, the Settlement allocation is based on

 2   Class Counsel’s global damage calculation. 1 (Brome Decl. ¶ 4.) The total settlement value

 3   ($3,150,000) is greater than several plausible outcomes for in which Plaintiffs obtain partial

 4   success. Assuming the Court approves the requested fees, costs, and service awards, the settlement

 5   will distribute $2,342,500—30.5% of the maximum value of the claims. (Brome Decl. ¶ 5.) Of

 6   course, the maximum value is exactly that—the best possible outcome, assuming complete success

 7   on all claims, a finding of willfulness, awarding liquidated damages, and overtime based on all

 8   claimed hours, including for FLSA Opt-ins and Class Members who have not been deposed. There

 9   are many realistic outcomes where Plaintiffs could achieve partial success at trial, but come away

10   with less than the settlement value.

11           The percentage of the fund method is also appropriate to spread fees in a manner that

12   comports with the legal marketplace, where counsel’s success is frequently measured in terms of

13   the results counsel has achieved. See Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261, 1269 (D.C. Cir.

14   1993) (in common fund cases “the monetary amount of the victory is often the true measure of

15   [counsel’s] success”); Vizcaino, 290 F.3d at 1047 (recognizing that “the size of the recovery

16   constitutes a suitable measure of the attorneys’ performance”) (internal quotations omitted). By

17   assessing the amount of the fee in terms of the amount of the benefit conferred on the class, the

18   percentage method “more accurately reflects the economics of litigation practice” which, “given

19
     1
       Class Counsel reviewed and analyzed earnings and hours worked data for Rule 23 Class
20   Members and FLSA Opt-ins prior to mediation. With this data, Class Counsel was able to
     calculate potential damages in conjunction with the risk of loss to Class Members. The damages
21   were calculated using individual payroll data, and uniform hours assumptions. Under these
22   calculations, the maximum damages as calculated at the settlement conference were
     $7,653,620.09. This total value assumes complete success, including on: (1) defeating
23   decertification as to the FLSA collective and California Class, (2) recovering damages based on
     Plaintiffs’ maximum claimed overtime hours, (3) establishing liability under the FLSA and
24   California law, (4) establishing a willful violation, and (5) recovering liquidated damages. Of
     course, given the number of variables, it would be possible for Plaintiffs to recover less than the
25   maximum amount. By way of example, if Plaintiffs prevailed, on a two-year (non-willful) statute
26   of limitations, without liquidated damages, but only established five hours of overtime per week
     (or nine hours worked per day) for the entire time period, the total wage loss amounts to
27   $1,979,880.58 – well below the settlement amount here. When applying reasonable reductions for
     the likelihood of success on different components of the claims, Class Counsel calculates that a
28   realistic value of the claims here is $2,940,736.01. (Brome Decl. ¶¶ 5, 6.)
                                                       -5-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 12 of 26



 1   the uncertainties and hazards of litigation, must necessarily be result-oriented.” Swedish Hosp.

 2   Corp., 1 F.3d at 1269 (internal quotation marks and citation omitted).

 3          Further, when clients do not pay an ongoing hourly fee to their counsel, they typically

 4   negotiate an agreement in which counsel’s fee is based upon a percentage of any recovery. The

 5   percentage of the fund approach mirrors this aspect of the market and, accordingly, reflects the fee

 6   that would have been negotiated by the class members in advance, had such negotiations been

 7   feasible given the prospective uncertainties and anticipated risks and burdens of the litigation. See,

 8   e.g., Paul, Johnson, Alston & Hunt, 886 F.2d at 271 (“[I]t is well settled that the lawyer who

 9   creates a common fund is allowed an extra reward, beyond that which he has arranged with his

10   client, so that he might share the wealth of those upon whom he has conferred a benefit.”).

11          Here, the common fund method is appropriate because Class Counsel has secured a

12   settlement with a common fund of $3,150,000 which will be shared by approximately 295

13   individuals, and it is appropriate for attorneys’ fees to likewise be shared among this group. The

14   settlement agreement provides a mathematical distribution based on Class Counsel’s calculations,

15   awarding each member of the group an ascertainable amount, making a common fund fee award

16   particularly appropriate. Staton, 327 F.3d at 972.

17          B.       The Court should approve the request of 25% in attorneys’ fees

18          The Ninth Circuit’s typical range of common fund attorneys’ fee awards is 20% to 33 1/3%

19   of the total settlement value, with 25% “considered the benchmark.” Powers v. Eichen, 229 F.3d

20   1249, 1256 (9th Cir. 2000). However, in “most common fund cases, the award exceeds that

21   benchmark.” Knight v. Red Door Salons, Inc., 2009 WL 248367, at *3 (N.D. Cal. Feb. 2, 2009);

22   see also Fronda v. Staffmark Holdings, Inc., 2018 WL 2463101, at *9 (N.D. Cal. June 1, 2018)

23   (approving 1/3 of the settlement fund, or $1,866,666.67 in fees); Willner v. Manpower Inc., 2015

24   WL 3863625, *7 (N.D. Cal. June 22, 2015) (awarding 30 percent of the common fund wage and

25   hour settlement); Burden v. SelectQuote Ins. Services, 2013 WL 3988771, at **4–5 (N.D. Cal.

26   Aug. 2, 2013) (awarding 33% of common fund in attorneys’ fees in an overtime misclassification

27   case); Lusby v. GameStop, Inc., 2015 WL 1501095, at *4 (N.D. Cal. Mar. 31, 2015) (awarding 33

28   percent of a common fund wage and hour settlement); Ching v. Siemens Industry, Inc., 2014 WL
                                                 -6-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 13 of 26



 1   2926210, *8 (N.D. Cal. June 27, 2014) (awarding 30 percent of the common fund wage and hour

 2   settlement); Barbosa, 297 F.R.D. at 450 (33% fee award; collecting list of attorneys’ fees awards

 3   between 30% and 33.3%). The size of the common fund is relevant when determining the fee

 4   award; “[f]ee award percentages generally are higher in cases where the common fund is below

 5   $10 million.” Alvarez v. Farmers Ins. Exch., 2017 WL 2214585 (N.D. Cal. Jan. 18, 2017).

 6           Awards departing from the benchmark must be supported by an adequate explanation of

 7   special circumstances in the record justifying departure. Bower v. Cycle Gear, Inc., 2016 WL

 8   4439875, at *6 (N.D. Cal. Aug. 23, 2016). Factors taken into consideration include the result

 9   obtained for plaintiffs, quality of representation, complexity of the issues, risk of nonpayment

10   assumed by counsel, reaction of the class to the settlement, and lodestar comparison.

11   Bellinghausen v. Tractor Supply Co., 306 F.R.D. 245, 260 (N.D. Cal. Mar. 20, 2015). Even

12   though Plaintiffs do not seek attorneys’ fees above the benchmark, these factors support the

13   requested attorneys’ fees.

14                         i.      Result obtained

15          The result obtained for the class is a primary consideration when evaluating awards of
16   attorneys’ fees. Wilcox v. City of Reno, 42 F.3d 550, 554 (9th Cir. 1994). Here, the gross
17   settlement amount represents approximately 41% of the total damages; assuming the Court
18   approves the requested fees, costs, and service payments, the settlement will distribute
19   $2,334,000—30.5% of the maximum value of the claims, or 79% of the realistic value. (Brome
20   Decl. ¶ 5.) Amounts average $7,844.07, and range from $200 (for 35 individuals who are only
21   receiving payment for a small number of days in California) up to $61,442.50. (Brome Decl. ¶ 8.)
22   The settlement covers 295 individuals. Of those, 75 would receive $200 to $1,000, 151 individuals
23   would receive $1,000 to $10,000, and 69 individuals will receive over $10,000. (Id.)
24          Even after deducting the requested fees and costs, and service payments, FLSA Opt-in
25   Plaintiffs and Rule 23 class members will receive substantial payments, representing 30.5% of
26   their maximum damages as calculated by Class Counsel. (Id. ¶ 5.) The settlement payments are
27   substantial and compensate FLSA Opt-in Plaintiffs and Rule 23 class members appropriately.
28          The settlement represents a significant monetary award for the group, which weighs
                                                  -7-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 14 of 26



 1   heavily in favor of approval of the requested “benchmark” 25% attorneys’ fees award. Indeed,
 2   courts in this circuit regularly approve fee awards above the benchmark based on similar or lower
 3   recovery. See Deluca v. Farmers Ins. Exch., 2020 WL 5071700, at *4 (N.D. Cal. Aug. 24, 2020)
 4   (approving fees of 30%, finding that a gross settlement amount worth 46.6% of estimated total
 5   recovery reached after summary judgment ruling for plaintiffs constituted “a very good result”);
 6   Nelson v. Avon Prod., Inc., 2017 WL 733145, at **4-6 (N.D. Cal. Feb. 24, 2017) (approving fees
 7   of one-third of the total settlement in a wage and hour settlement, finding that gross settlement
 8   amount worth 12 to 24% of the alleged overtime damages was “a substantial benefit for the
 9   Class”); Aguilar v. Wawona Frozen Foods, 2017 WL 2214936, at *5 (E.D. Cal. May 19, 2017)
10   (finding the value of the recovery worth between 47% and 75% of the total possible recovery was
11   a very favorable result, “far greater” than the percentage recovered in other wage and hour cases,
12   and supported fee award above the benchmark). In Nelson, the plaintiffs were former District Sales
13   Managers who alleged their employer misclassified them as exempt from overtime. Id. at *2. The
14   settlement covered 289 class members (id. at *5) with a total value of $1,800,000 (id. at *2); after
15   deductions ($600,000 for attorneys’ fees; $70,000 for costs; $10,000 for PAGA payment; and
16   $100,000 in enhancement awards), the settlement would allocate $1,020,000 to the class members.
17   See id. at *2-6. The case here covers almost the same number of workers, but will distribute more
18   than twice as much money to class members. The Nelson settlement represented “more than 12 to
19   24 percent of the alleged overtime damages” before deductions. Id. at *4. Before deductions, the
20   settlement value here represents 41% of the maximum value of all of Plaintiffs’ claims. (Brome
21   Decl. ¶ 6.) The monetary value of this settlement strongly supports the requested attorneys’ fees.
22          Indeed, other recent wage and hour cases have approved settlements that distribute
23   considerably lower percentages of the potential recovery. Dixon v. Cushman & Wakefield Western,
24   Inc., 2021 WL 3861465, at *14 (N.D. Cal. Aug. 30, 2021) (granting preliminary approval where
25   maximum settlement value represented 8% of the maximum total exposure); Roe v. Jose Torres
26   L.D. Latin Club Bar, Inc., 2020 WL 5074392, at *6 (N.D. Cal. Aug. 27, 2020) (gross settlement
27   amount representing 7.07% of maximum potential value provided “good value.”). The total value
28   of the settlement here, representing 41% of the maximum value of the claims, strongly supports
                                                   -8-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 15 of 26



 1   awarding fees at the benchmark percentage.
 2           Fee awards ranging from 25-33% are routinely awarded in wage and hour cases by district
 3   courts across California. See, e.g., Alvarez, 2017 WL 2214585, at *3 (approving 25% of a
 4   $4,900,000 settlement as reasonable fee award); Pointer v. Bank of Am., N.A., 2016 WL 7404759,
 5   at *11, *18 (E.D. Cal. Dec. 21, 2016) (approving 25% attorneys’ fees award for settlement with
 6   net settlement amount of $1,253,500 and average award of $1,000); Bautista v. Harvest
 7   Management Sub LLC, 2014 WL 12579822, at *12 (C.D. Cal. Jul. 14, 2014) (“In light of the
 8   substantial result achieved by Plaintiffs’ Counsel for the Settlement Classes, the court finds that
 9   the requested fee award of 30% is fair and reasonable.”); Ching, 2014 WL 2926210, at *7
10   (approving 30% attorneys’ fees award for settlement with net settlement amount of $249,100 and
11   average award of $2,672.56 per class member); Barbosa, 297 F.R.D. at 454 (approving 33% fee
12   award for settlement with net settlement amount of $785,347.26 and average award of $601.91 for
13   each timely class member).
14           Against this backdrop, awarding fees at the Ninth Circuit’s benchmark rate is imminently
15   reasonable. C.f., Monplaisir v. Integrated Tech Grp., LLC, No. 19-CV-01484 WHA, 2020 WL
16   8642155, at *2 (N.D. Cal. Nov. 7, 2020) (fee request that could be up to 45% of the gross payment
17   was “an extraordinary fee”). More importantly, the settlement represents an excellent result for the
18   class members. The value compares favorably to the value of the claims, and the dollar value is
19   high, with an average post fees and costs payment of nearly $8,000.00 per person. (Brome Decl. ¶
20   5.) Importantly, the fee request was explicitly stated as a percentage and dollar amount in the
21   notices approved by this Court and provided to class members. The parties have not received an
22   objection to Plaintiffs’ Counsel’s fees. The results obtained strongly support approval of the
23   requested attorneys’ fees. 2
24
     2
       Additionally, this is not a “claims made,” or reversionary settlement. Each dollar that is allocated
25   to be distributed to class members will end up either in class members’ hands or in a cy pres fund.
26   The fees are based on a percentage of actual payout, not some fictitious amount that will never
     actually reach class members. See Kakani v. Oracle Corp., No. 06-CV-06493-WHA, 2007 WL
27   1793774, at *5–6 (N.D. Cal. June 19, 2007) (denying preliminary approval of reversionary,
     claims-made settlement, in which attorneys’ fees were based on “the theoretical maximum payout
28   rather than the actual benefit conferred.”).
                                                      -9-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 16 of 26



 1                          ii.      Quality of counsel

 2           Class Counsel’s experience in vigorously litigating class/collective wage and hour actions,
 3   plus their experience with similar administrative exemption cases was essential in obtaining this
 4   favorable result: Nichols Kaster represented special investigators for their overtime claims in
 5   Deluca v. Farmers Ins. Exch., a recent case from this district that similarly involved contested
 6   class certification and cross-motions for summary judgment. Nichols Kaster also represented the
 7   plaintiffs in McKeen-Chaplin v. Provident Savings Bank, a recent Ninth Circuit decision analyzing
 8   the administrative exemption that was central to the summary judgment motions here. (Brome
 9   Decl. ¶ 22.) Nichols Kaster’s experience in this area contributed to the favorable outcome, and
10   supports approval of the requested fees. In addition, Plaintiffs and their counsel vigorously
11   litigated this case, participating in extensive discovery, and litigating multiple contested motions
12   before reaching the settlement. Counsel’s experience and skill contributed to the case and support
13   approval of the requested fees and costs. See Barbosa, 297 F.R.D. at 449 (“Overall the specialized
14   skill of Plaintiffs’ Counsel in this area of the law was generally an asset to the Class Members and
15   the quality of work performed was good. This factor cuts in favor of approving the fee request.”).
16                         iii.      Complexity of the issues

17          Courts consider “the novelty, difficulty and complexity of the issues involved” when
18   determining a fee award. Ross v. Bar None Enterprises, Inc., 2015 WL 1046117, at *9 (E.D. Cal.
19   Mar. 10, 2015). This case involved overlapping issues of overtime exemptions under state and
20   federal law, and facts particular to the software industry. This case was not simple or easy, and
21   attorneys’ fees should reflect the efforts and expertise required.
22          This case involved numerous contested issues. Procedurally, Defendant argued the case
23   was unsuitable for class and collective treatment because of highly individualized duties. (ECF
24   Nos. 85, 117.) On the substance of the claims, Plaintiffs asserted Defendant had misclassified all
25   ICs as exempt from overtime and had thereby failed to pay overtime wages, which Defendant
26   vigorously disputed. The parties filed cross-motions for summary judgment focused on the
27   exemption issue, which were pending when the Parties reached this settlement. (See ECF Nos.
28   115, 116.) The case also involved application of California law to workers who are not based in
                                                   -10-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 17 of 26



 1   the state but travel into California to perform services. Because the Parties’ summary judgment
 2   motions focused on the core issue of the applicability of the administrative exemption, a favorable
 3   ruling on summary judgment would likely have left several important issues for trial, including the
 4   determination of whether the violation was willful (and therefore the applicable statute of
 5   limitations), the potential recovery of liquidated damages, and the number of unpaid overtime
 6   hours worked. Further litigation would have been contentious, challenging, and slow; these facts
 7   support approval of the requested fees.
 8          “Employment law class actions are, by their nature, time-consuming and expensive to
 9   litigate.” Aguilar, 2017 WL 2214936, at *3. This case illustrates that point. To recover absent
10   settlement, Plaintiffs would have needed to prevail on their summary judgment motion, defeat
11   Defendant’s decertification motion, and then prove their damages through trial, likely with
12   disputes about the use of representative sampling to determine liability and damages. If Plaintiffs
13   prevailed at trial, Defendant would likely appeal. The issues here are complex, so this factor
14   strongly supports approval of the requested attorneys’ fees.
15                          iv.      Risk of Nonpayment

16           “Courts consistently recognize that the risk of non-payment or reimbursement of expenses
17   is a factor in determining the appropriateness of counsel's fee award.” Bautista, 2014 WL
18   12579822, at *13. The contingent nature of the work performed also weighs in favor of
19   determining a higher percentage fee. See Graham v. Daimler Chrysler Corp., 34 Cal. 4th 553, 580
20   (2004) (“A contingent fee must be higher than a fee for the same legal services paid as they are
21   performed. The contingent fee compensates the lawyer not only for the legal services he renders
22   but for the loan of those services.”).
23          Class Counsel handled this case on a pure contingency basis: they have not received any
24   payment for the 984.2 hours spent litigating the case in the last two years, nor have they received
25   reimbursement for out-of-pocket costs. (Brome Decl. ¶¶ 11, 26–31.) Class Counsel alone bore the
26   financial risk of unsuccessful litigation. Class Counsel should be compensated for shouldering the
27   risk of nonpayment in this case. See Pointer, 2016 WL 7404759, at *15 (“[C]ourts have long
28   recognized the public policy of rewarding attorneys for accepting contingent representation in
                                                 -11-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 18 of 26



 1   appropriate cases.”). This factor favors approval.
 2                          v.       Reaction of the Class

 3            No objections have been received thus far, and only two or requests for exclusion. (Brome

 4   Decl. ¶ 28.) All of the 61 Opt-ins have returned their forms. (Id.) This factor is best addressed

 5   following the distribution of the Notice, once the class members have had a full opportunity to

 6   review the settlement, but the initial response is strongly favorable, supporting approval. See

 7   Stonehocker v. Kindred Healthcare Operating LLC, 2021 WL 1643226, at *8 (N.D. Cal. Apr. 27,

 8   2021) (describing a settlement with “only three opt-outs and no objections” as an

 9   “overwhelmingly positive” response).

10                          vi.      Lodestar Cross-Check

11            District courts awarding fees based on percentage of the fund method often cross-check the
12   appropriateness of the amount by applying the lodestar method. E.g., Nelson, 2017 WL 733145, at
13   *6. A “lodestar cross-check calculation need entail neither mathematical precision nor bean-
14   counting.” Torchia v. W.W. Grainger, Inc., 2014 WL 7399230, at *25 (E.D. Cal. 2014) (quoting In
15   re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 306 (3d Cir. 2005)). Indeed, trial courts have the
16   discretion to forego a lodestar cross-check and use other means to evaluate the reasonableness of a
17   requested percentage fee. Laffitte, 1 Cal. 5th at 506; see also Lealao v. Beneficial California, Inc.,
18   82 Cal. App. 4th 19, 30 (2000). “Where a lodestar is merely being used as a cross-check, the court
19   may use a rough calculation of the lodestar.” Aguilar, 2017 WL 2214936, at *5 (quotations
20   omitted). A lodestar crosscheck in this case confirms the reasonableness of a 25% attorneys’ fees
21   award.
22            Here, Class’ Counsel’s fees under the lodestar method are currently $323,385.00. This
23   amount is represents 984.2 hours of billable work at hourly rates of $175 for paralegals and other
24   support staff, $450 for an associate attorney, and $500 - $600 for partners. (Brome Decl. ¶¶ 15–
25   25.)
26            Reasonable Hours
27

28
                                                     -12-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 19 of 26



 1           Class Counsel has worked 984.2 hours on litigating this matter. 3 (Brome Decl. ¶¶ 15–25.)
 2   Specifically, the hours reflect Class Counsel’s work investigating the claims pre-suit; interviewing
 3   potential clients and Opt-in Plaintiffs; preparing discovery responses for Opt-in Plaintiffs;
 4   reviewing over one million pages of documents; preparing plaintiff documents to be produced;
 5   briefing and arguing a class certification motion and preparing Plaintiffs’ motion for partial
 6   summary judgment; preparing for and taking depositions of Defendant’s witnesses; defending
 7   Plaintiff depositions; calculating and revising a detailed damages model; conducting and preparing
 8   for two settlement conferences; negotiating the settlement terms; and briefing Plaintiffs’ motion
 9   for preliminary approval. (Id. ¶ 15.)
10           These efforts amount to 512.3 hours of attorney time, and 471.9 hours of staff time. (Id. ¶¶
11   17, 23.) Class Counsel relies on non-attorneys to perform crucial case work to promote efficient
12   use of attorney time. Significantly, class action clerks spent about 280.7 hours on this case,
13   performing essential work interviewing Plaintiffs and class members, obtaining documents, and
14   gathering detailed information for Plaintiffs’ damages analysis. (Id. ¶¶ 23–25.) If this work was
15   not performed by staff, an attorney would have to do the same work, billed at a much higher rate.
16           These hours are reasonable in light of the complexity of this case. Wage and hour cases can
17   entail significant discovery, motion practice, and damages analysis, leading courts to find that
18   higher hours than requested here. See In re Walgreen Co. Wage & Hour Litigation, 2014 WL
19   12853547, at *10 (C.D. Cal. Oct. 3, 2014) (9,441 hours requested were reasonable where case had
20   “been litigated for more than three years,” included multiple motions and preparation for trial);
21   Hightower v. JPMorgan Chase Bank, N.A., 2015 WL 9664959, at *12 (C.D. Cal. Aug. 4, 2015)
22   (6,636 hours reasonable where case was ongoing for more than four years, entailed considerable
23   discovery and a motion for class certification). Even cases without substantial motion practice may
24   reasonably require significant attorney time. E.g., Franco v. Ruiz Food Products, Inc., 2012 WL
25   5941801, at *19 (E.D. Cal. Nov. 27, 2012) (1,345.7 hours “reasonable in light of the legal issues
26   and the amount of discovery conducted, the number of Defendant’s employees included in the
27
     3
       Class Counsel provides a description of these hours in the accompanying declaration and can
28   provide a full report for in camera review if needed by the Court.
                                                     -13-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 20 of 26



 1   Settlement Classes, the mediation preparation required, and motion practice with respect to the
 2   Settlement Agreement”).
 3           The hours expended here were necessary to effectively litigate this case, and are in line
 4   with those approved in similar cases. The Court should find that Class Counsel’s hours are
 5   reasonable for purposes of a lodestar crosscheck. Additionally, Plaintiffs’ Counsel expects that
 6   securing final approval and distribution of the settlement will entail approximately 20 additional
 7   hours of attorney work time and 20 hours of staff time. (Brome Decl. ¶ 16.) Because the total
 8   hours expended and anticipated are well below those approved in similar cases, the Court should
 9   find that Plaintiffs’ Counsel’s hours are reasonable, and use the total anticipated amount, 1,024.2
10   hours, for purposes of a lodestar crosscheck.
11           Reasonable Rates

12           Class Counsel’s rates have recently been approved in this district and align with those

13   previously approved. The primary attorneys litigating this case at Nichols Kaster, LLP (Class

14   Counsel) are Rachhana T. Srey and Daniel Brome, both of whom have substantial wage and hour

15   experience. (Brome Decl. ¶¶ 17–23.) Class Counsel’s time was billed at $575 per hour for partner

16   Rachhana T. Srey (admitted to the Minnesota bar in 2004), $450 for associate attorney Daniel

17   Brome (admitted to California bar in 2011), and $175 per hour for non-lawyer staff time. Time

18   from two other attorneys (Matthew Helland, $650 per hour, and Reena Desai at $500 per hour) is

19   also included in the total. (Id.)

20           In Bisaccia v. Revel Sys. Inc., a FLSA and California class and collective overtime case in

21   which Class Counsel here was class counsel, Judge Gilliam conducted a lodestar crosscheck and

22   found that Class Counsel’s 2019 rates of $175 for clerks and paralegals, $425 for senior associates,

23   and $625 to $675 for partners “was reasonable and in line with prevailing rates in this district for

24   personnel of comparable experience, skill, and reputation.” 2019 WL 3220275, at *8 (N.D. Cal.

25   July 17, 2019) (citing Hefler v. Wells Fargo & Co., 2018 WL 6619983, at *14 (N.D. Cal. Dec. 18,

26   2018) (rates from $650 to $1,250 for partners or senior counsel, $400 to $650 for associates); In re

27   Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prod. Liab. Litig., No. 2672 CRB (JSC),

28   2017 WL 1047834, at *5 (N.D. Cal. Mar. 17, 2017) (billing rates ranging from $275 to $1600 for
                                                     -14-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 21 of 26



 1   partners, $150 to $790 for associates, and $80 to $490 for paralegals reasonable “given the
 2   complexities of this case and the extraordinary result achieved for the Class”)). Attorney rates
 3   have increased slightly in the two years since Judge Gilliam’s finding in Bisaccia, but are still
 4   reasonable in light of counsel’s experience.
 5          Notably, the rates here are particularly reasonable in light of Plaintiffs’ Counsel’s use of
 6   non-attorney staff to handle the case efficiently. In Nelson, plaintiffs’ counsel spent 821 hours for
 7   a lodestar value of $459,037 (an average rate of $559/ hour). 2017 WL 733145, at *6. Here,
 8   Plaintiffs’ Counsel expects to spend 1,024.2 hours for a lodestar value of $335,885.00, for an
 9   average rate of $328/hour. The overall rates are very reasonable.
10          Reasonable Multiplier
11          “Beyond simply the multiplication of a reasonable hourly rate by the number of hours
12   worked, a lodestar multiplier is typically applied.” Aguilar, 2017 WL 2214936, at *5. Courts apply
13   lodestar multipliers to attorneys’ fee awards to compensate attorneys for the risk of nonpayment
14   associated with contingency cases. Barbosa, 296 F.R.D. at 453. Courts typically approve fee
15   awards with lodestar multipliers between 1.9 and 5.1. See 4 Newberg on Class Actions § 14.7.
16   Further, “[m]ultipliers in the 3–4 range are common in lodestar awards for lengthy and complex
17   class action litigation.” Van Vranken v. Atlantic Richfield Co., 901 F. Supp. 294, 298 (N.D. Cal.
18   1995) (citing Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 549 (S.D. Fla. 1988). Courts may
19   approve higher multipliers in common fund cases. See e.g. Craft v. Cty. of San Bernardino, 624 F.
20   Supp. 2d 1113, 1125 (C.D. Cal. 2008) (approving a multiplier of 5.2 and collecting cases); Di
21   Giacomo v. Plains All Am. Pipeline, 2001 WL 34633373, at *10–11 (S.D. Fla. Dec. 19, 2001)
22   (approving 30% fee, resulting in 5.3 multiplier); Roberts v. Texaco, 979 F.Supp. 185, 198
23   (S.D.N.Y.1997) (approving multiplier of 5.5); Weiss v. Mercedez–Benz, 899 F.Supp. 1297
24   (D.N.J.1995) (approving multiplier of 9.3), aff’d, 66 F.3d 314 (3d Cir.1995).
25          Awarding attorneys’ fees at 25% would yield a modest lodestar multiplier (the requested
26   fee award—$787,500—divided by the lodestar value—$335,885.00) of 2.34, based on the total
27   anticipated hours. (See Brome Decl. ¶ 16.) This multiplier is in line with commonly accepted
28   lodestar multipliers, and supports approval. Stonehocker, 2021 WL 1643226, at *8 (approving fees
                                                     -15-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 22 of 26



 1   at 25% benchmark with 2.04 lodestar multiplier); Bisaccia, 2019 WL 3220275, at *8 (holding that
 2   a 2.23 lodestar multiplier “supports the reasonableness of the fee request” at the 25% benchmark
 3   rate); Taylor v. FedEx Freight, Inc., 2016 WL 6038949, at *7 (E.D. Cal. Oct. 13, 2016) (approving
 4   $1,125,000 in fees―30% of settlement amount―in wage and hour case resulting in 2.26
 5   multiplier); Lazarin v. Pro Unlimited, Inc., 2013 WL 3541217, at *8 (N.D. Cal. July 11, 2013)
 6   (approving 25% benchmark fees in overtime case resulting in a multiplier of 3.36); Van Vranken,
 7   901 F. Supp. at 298 (multipliers in the 3–4 range are “common”). Because the multiplier is within
 8   or below the accepted range, the lodestar crosscheck demonstrates that the Court should approve
 9   Class Counsel’s fee request of 25%. 4
10                   C.     The Court should approve the request of $20,000 in litigation costs

11            “There is no doubt that an attorney who has created a common fund for the benefit of the

12   class is entitled to reimbursement of reasonable litigation expenses from that fund. To that end,

13   courts throughout the Ninth Circuit regularly award litigation costs and expenses—including

14   reasonable travel expenses—in wage-and-hour class actions.” Bellinghausen, 306 F.R.D. at 265

15   (citations omitted).

16            Here, Class Counsel requests approval of $20,000.00 in litigation costs. The initial

17   allocation already factored in these expenses. Class Counsel’s expenses include costs related to

18   filing fees, postage, Westlaw research, PACER, administration costs for the collective, class, and

19   settlement notices, and transcripts for the many depositions. (Brome Decl. ¶ 11.) The most

20   significant expenses were for depositions transcripts (approximately $8,800), storage costs

21   connected to the substantial amount of electronically stored information (approximately $4,300 to

22   date, which will continue to grow), and costs connected to mailing multiple notices (roughly

23   $2,700 so far, with more costs to be accrued in connection with distribution of settlement

24   payments). Id. Other costs, such as filing fees, service costs, advertising, PACER fees and legal

25

26
     4
27     While Plaintiffs seek fees at the benchmark rate, courts also approve fees above that percentage
     based on similar positive multipliers. See, e.g., Bower, 2016 WL 4439875, at *7 (approving 30%
28   fees in wage and hour case resulting in multiplier of 1.37).
                                                     -16-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 23 of 26



 1   research amount to roughly $3,000. Id. Plaintiffs anticipate that the total costs including Relativity

 2   storage costs and postage to distribute settlement checks will exceed the requested $20,000. Id.

 3           Class Counsel’s costs were reasonably and necessarily incurred to benefit the FLSA Opt-in

 4   Plaintiffs and Rule 23 class members and are reasonable in light of the settlement value and the

 5   stage of the proceedings. See Nelson, 2017 WL 733145, at *7 (approving $70,000 in costs for a

 6   settlement of $1,800,000, settled earlier in litigation). The Court should approve these costs.

 7             IV.   THE COURT SHOULD APPROVE THE REQUESTED SERVICE

 8                   PAYMENTS

 9           In addition to approving the requested fees and costs, the Court should also approve service

10   payments of $5,000 to the initial Named Plaintiff Aaron Kudatsky and $500 to each of the seven

11   (7) FLSA Opt-In Plaintiffs who were deposed. These payments are reasonable considering the

12   value of the settlement, the average recovery, and the effort and risk of reputational harm the

13   Named Plaintiff faced by bringing this case.

14           The Ninth Circuit approves of service awards as an appropriate way “to compensate class

15   representatives for work done on behalf of the class, to make up for financial or reputational risk

16   undertaken in bringing the action, and sometimes, to recognize their willingness to act as a private

17   attorney general.” Rodriguez v. West Publishing Corp., 563 F.3d 948, 958-59 (9th Cir. 2009).

18   Indeed, “[i]ncentive awards are fairly typical in class action cases.” Id. at 958, citing 4 Newberg on

19   Class Actions (4th ed. 2002) § 11:38, at 81; Eisenberg & Miller, Incentive Awards to Class Action

20   Plaintiffs: An Empirical Study, 53 UCLA L.Rev. 1303 (2006). “In wage-and-hour cases, many

21   courts in this district have held that a $5,000 incentive award is ‘presumptively reasonable.’”

22   Franco v. E-3 Sys., 2021 WL 2333851, at *8 (N.D. Cal. June 8, 2021).

23           This Court has previously expressed skepticism towards service awards, finding that they

24   pose a risk that the class representative is blessing an inadequate class settlement. 5 Class Counsel

25   respectfully submits that this approach fails to account for the differences—both qualitative and

26
     5
27     See, e.g., ECF No. 35, Notice and Order re: Putative Class Actions (“If the proposed settlement
     by itself is not good enough for the named plaintiff, why should it be good enough for the absent
28   class members similarly situated?”).
                                                   -17-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
         Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 24 of 26



 1   quantitative—between the role played by a named plaintiff and an absent class member in a case

 2   like this. Here, as described in his declaration, Named Plaintiff Kudatsky has been actively

 3   involved in all phases of this case. (Kudatsky Decl. ¶¶ 3–8.) In addition to assisting Class Counsel

 4   in preparing, reviewing and revising the Complaint, responding to written discovery, providing

 5   documents, providing deposition testimony, and providing substantial assistance and information

 6   to counsel, Mr. Kudatsky participated in two settlement conferences that ultimately led to this

 7   settlement. (Id.) Absent class members did none of this work, and are benefiting from this

 8   settlement because Mr. Kudatsky did it on their behalf. His role entailed active involvement, and

 9   considerable time, that led directly to the benefits class members are receiving. Equally important,

10   Mr. Kudatsky took on this responsibility despite the risks of possible stigma and reputational

11   harm. Deaver, 2015 WL 8526982, at *15 (a service award “is particularly appropriate in this wage

12   and hour class action, where Plaintiff undertook a significant ‘reputational risk’ in bringing this

13   action against her former employer”). The case is easily linked to Mr. Kudatsky through internet

14   searches, and there is reason to believe this case impacted his ability to find new employment.

15   (Kudatsky Decl. ¶¶ 9–11.) Unlike absent class members, whose participation in this case is

16   anonymous and unlikely to even register with a prospective employer, Mr. Kudatsky bore

17   substantial risk of reputational harm and loss of employment opportunities. These facts warrant a

18   modest service award of $5,000.00 6

19           The $5,000.00 service payment is also appropriate when compared to the total settlement

20   amount. A $5,000.00 service award payment is 0.16% of the $3,150,000.00 settlement, and is less

21   6
       California courts often approve service awards above this amount. See Noroma v. Home Point
22   Financial Corp., 2019 WL 5788658, *10 (N.D. Cal. Nov. 6, 2019) (awarding $10,000 incentive
     award where named plaintiff added substantial value to the case, having been actively involved
23   since the case was filed and participating with counsel to prepare the action and discuss settlement
     documents); Carter v. XPO Logistics, Inc., 2019 WL 5295125, at *4 (N.D. Cal. Oct. 18, 2019)
24   (approving awards of $20,000 each for five named plaintiffs); Nelson, 2017 WL 733145, at *7
     (approving total of $100,000 in awards, representing 5.6% of the total settlement); Taylor, 2016
25   WL 6038949, at *4 (approving a $15,000 service payment for a $3,750,000 total settlement, with
26   an average award of $2,616); Galeener v. Source Refrigeration & HVAC, Inc., 2015 WL
     12977077, at *2 (N.D. Cal., Aug. 21, 2015) ($25,000 service award); Boyd v. Bank of America,
27   2014 WL 6473804, at *7 (C.D. Cal. Nov. 18, 2014) ($15,000 for review appraiser class
     representative from $5.8 million settlement); In re Pep Boys Overtime Actions, 2008 WL
28   11343369, at *3 (C.D. Cal. Nov. 12, 2008) ($20,000 for each of seven named plaintiffs).
                                                     -18-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 25 of 26



 1   than the average settlement payment of $7,844. All these facts support awarding $5,000.00 service

 2   award to Named Plaintiff Kudatsky.

 3          Lastly, the court should approve the $500.00 service payment to each of the seven FLSA

 4   Opt-in Plaintiffs who were deposed. These depositions furthered the case in immeasurable ways,

 5   and each of the FLSA Opt-in Plaintiffs and Rule 23 Class Members who were not deposed greatly

 6   benefited from these depositions. Plaintiffs won class certification and briefed summary judgment

 7   partly based on their testimony. The small payment of $500 each recognizes the deponents’

 8   contribution to the case, including preparation time and time appearing for their depositions.

 9   These payments will not significantly reduce the settlement fund, representing collectively only

10   0.11% of the total settlement amount. Finally, as to the FLSA Opt-in deponents, an enhancement

11   is appropriate because discovery in collective actions typically proceeds on a representative basis,

12   lowering the burden on individuals. E.g., Rabin v. PricewaterhouseCoopers LLP, 2021 WL

13   837626, at *10 (N.D. Cal. Feb. 4, 2021) (approving $1,000 awards to 24 declarants because they

14   “opened themselves up to some reputational risk and because each declarant will sign a general

15   release”); Deluca, 2020 WL 5071700, at *9 (“the $1,000 service payments for plaintiffs who were

16   deposed are reasonable.”); Batiz v. American Commercial Sec. Services, 2010 WL 11556683, at

17   *2 (C.D. Cal. May 11, 2010); Gee v. Suntrust Mortg., Inc., 2011 WL 5597124 at *2 (C.D. Cal.

18   Nov. 15, 2011) (citing Hoffmann-Laroche Inc. v. Sperling, 493 U.S. 165, 170 (1989)). For all

19   these reasons, enhancement payments are appropriate to all FLSA Opt-in Plaintiff and Rule 23

20   Class members who were deposed. See, e.g., Hightower, 2015 WL 9664959, at *12 (approving

21   $1,000 award for each class member who was deposed).

22            V.     CONCLUSION

23          This case achieved an extremely favorable result for the FLSA Opt-in Plaintiffs and Rule

24   23 Class after hard-fought litigation. The settlement provides excellent value, particularly

25   considering the risk of further litigation. This result is, at least in part, attributable to Class

26   Counsel’s skill and experience, and these considerations justify an award of attorneys’ fees from

27   the common settlement fund. The 25% fee award proposed as part of this settlement is very

28   reasonable under the circumstances, as are Class Counsel’s litigation costs and requested service
                                                  -19-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
      Case 3:19-cv-07647-WHA Document 132 Filed 09/14/21 Page 26 of 26



 1   payments. For these reasons, the Court should grant Plaintiffs’ motion.

 2   Dated: September 14, 2021                             NICHOLS KASTER, LLP

 3                                                 By:     s/Daniel Brome
 4                                                         Daniel S. Brome
                                                           Rachhana T. Srey
 5
                                                   Attorneys for Plaintiffs and the Rule 23 Class
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    -20-
     MOTION FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE PAYMENTS Case No. 3:19-CV-07647-WHA
